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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

JARED HIGGS, Individually and as
Special Administrator of the Estate of
HEATHER HIGGS, Deceased                                                              PLAINTIFFS

v.                                    Civil No. 4:16-cv-04079

PNK, INC. et al                                                                    DEFENDANTS

                                             ORDER

       Pending now before the Court is Plaintiffs’ Motion to Withdraw Motion to Approve

Settlement, Approve Attorney Fees, and Distribute Settlement Proceeds. ECF No. 38. The parties

have consented to the jurisdiction of a United States Magistrate Judge to conduct any and all

proceedings in this case, including conducting the trial, ordering the entry of a final judgment, and

conducting all post-judgment proceedings. ECF No. 33.

I.     Background:

       This lawsuit involves a motor vehicle collision which occurred on August 11, 2016. ECF No.

5. As a result of this accident, Heather Higgs was killed when a 18 wheeler, being driven by

Defendant Jerry Freeman and owned by Defendant PNK, Inc., collided with Mrs. Higgs’ vehicle. Id.

       On August 23, 2016, Plaintiff Jared Higgs, husband of Heather Higgs, was appointed Special

Administrator of the Estate of Heather Higgs. ECF No. 34. As the Special Administrator of the Estate

of Heather Higgs, Jared Higgs brings this action on behalf of himself and the surviving family

members. ECF No. 5. The surviving family members of Heather Higgs are: (1) H. C., minor

daughter, (2) Cynthia Beck, mother, (3) Jerry Beck, father, and (4) Heath Beck, brother. Id.

       On August 2, 2018, Plaintiff filed a Motion to Approve Settlement, Approve Attorney Fees,

and Distribute Settlement Proceeds. ECF No. 34. Following this, in order to assist in the Court’s


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responsibility to review the settlement agreement, this Court appointed Mark Burgess as a guardian

ad litem to represent the interests of the minor H.C. ECF No. 35. According to Plaintiff, a resolution

has now been reached in this matter, and as part of the resolution, Plaintiff has agreed to withdraw the

Motion to Approve Settlement, Approve Attorney Fees, and Distribute Settlement Proceeds and

request approval of settlement through the Nevada County Probate Court that appointed Jared Higgs

Special Administrator of the Estate of Heather Higgs. ECF No. 38.

II.     Conclusion:

        Based on the foregoing, the Court GRANTS Plaintiffs’ Motion to Withdraw Motion to

Approve Settlement, Approve Attorney Fees, and Distribute Settlement Proceeds (ECF No. 38) and

Plaintiffs’ Motion to Approve Settlement, Approve Attorney Fees, and Distribute Settlement Proceeds

(ECF No. 34) is DENIED AS MOOT.

        Further, the parties are directed to file appropriate dismissal materials with this Court within

thirty (30) days of the date of entry of the Circuit Court of Nevada County, Arkansas’s order granting

approval of the settlement and distributing the settlement proceeds.

        Additionally, Mr. Burgess shall be discharged from any further duties in this matter in his

capacity as guardian ad litem.1

        ENTERED this 25th day of October 2018.
                                                                 /s/ Barry A. Bryant
                                                                 HON. BARRY A. BRYANT
                                                                 U.S. MAGISTRATE JUDGE




        1
            The Court has been informed Mr. Burgess has been compensated by the Defendants for his
work.

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